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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

UNITED STATES OF AMERICA,           §         Case No. 1:23-CV-853-DAE
                                    §
              Plaintiff,            §
                                    §
vs.                                 §
                                    §
GREG ABBOTT, in his capacity of     §
Governor of the State of Texas, and §
THE STATE OF TEXAS,                 §
              Defendants.           §
________________________________ §



                                     ORDER

            The matter before the Court is the Fifth Circuit Court of Appeal’s

July 30, 2024 judgment in this case which reversed the opinion of this Court and

remanded this case with instructions to vacate the preliminary injunction issued on

September 6, 2023. (Dkt # 50.) On September 23, 2024, the Fifth Circuit issued its

mandate. In accordance with the Fifth Circuit’s opinion, the Court hereby

VACATES the preliminary injunction. (Dkt. # 50.) The case will proceed to a

trial on the merits. IT IS SO ORDERED.

            SIGNED: Austin, Texas, September 26, 2024.




                                      ____________________________
                                      David Alan Ezra
                                      Senior United States District Judge
